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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 23-CV-23799-RAR

  THE SMILEY COMPANY SPRL,

         Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                                         /

                           ORDER GRANTING MOTION TO UNSEAL

         THIS CAUSE comes before the Court upon Plaintiff’s Motion to Unseal, [ECF No. 13].

  Plaintiff requests that all documents filed with the Court that have been restricted from the docket

  be unsealed as a seal is no longer required. Accordingly, after careful consideration and being

  fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      Plaintiff’s Motion to Unseal, [ECF No. 13], is GRANTED.

         2.      The Clerk of Court is hereby directed to unseal all docket entries in this case and

  return those portions of the Court file to the public records.

         DONE AND ORDERED in Miami, Florida, this 7th day of November, 2023.



                                                 ________________________________
                                                 RODOLFO A. RUIZ II
                                                 UNITED STATES DISTRICT JUDGE
